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                             IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE EASTERN DISTRICT OF TEXAS
                                        SHERMAN DIVISION

    In re:                                                            § Chapter 11
                                                                      §
    ZENERGY BRANDS, INC., et al.,1                                    § Case No. 19-42886
                                                                      §
                      Debtors.                                        § (Joint Administration Requested)


               DECLARATION OF JOSHUA CAMPBELL IN SUPPORT
      OF CRITICAL VENDOR MOTION AND SUPPLEMENTAL DECLARATION IN
                 SUPPORT OF A CERTAIN FIRST-DAY MOTION


I, Joshua Campbell, do hereby declare, under penalty of perjury, that:

             1.      I am the President and Director (“President”) of Zenergy Brands, Inc. (“Zenergy

Brands” and together with NAUP Brokerage, LLC, Zenergy Labs, LLC, Zenergy Power & Gas,

Inc., and Enertrade Electric, LLC, Zenergy & Associates, Inc., and Zen Technologies, Inc.

collectively, the “Company” or “Debtors”). I have served in that role since October 19, 2019. I

have been employed by Zenergy Brands since 2017. Since that time, I have held various titles and

assumed many responsibilities, including handling or overseeing financial modeling, liquidity

management and general day-to-day operations. As a result, I am generally familiar with the

Debtors’ day-to-day operations, businesses, financial affairs, books and records, and restructuring

efforts. I am above 18 years of age and, in my opinion, competent to testify. I am authorized to

submit this Declaration on the Debtors’ behalf.




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  The Debtors in the above-captioned chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, are: Zenergy Brands, Inc. (1686); NAUP Brokerage, LLC (7899); Zenergy Labs, LLC (8045);
Zenergy Power & Gas, Inc. (1963); Enertrade Electric, LLC (8649); Zenergy & Associates, Inc. (4022); and Zen
Technologies, Inc. (7309). The above-captioned Debtors’ mailing address is 5700 Granite Pkwy, #200, Plano, TX
75024.

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       2.       Prior to my time at Zenergy Brands, I spent over fifteen years in the technology and

service-delivery sector. I was the Director of Network Services of Stream Energy. In this position,

I oversaw network services related to the sale of energy services. I also provided consulting

services relating to operations and technology. I have also served as the Director of Operations

for US First Energy and as the Senior IT Manager for USA Environment. As the Senior IT

Manager, I oversaw the IT budget for a multistate company and assisted the executive team on its

day-to-day responsibilities.

       3.       I submit this Declaration to provide support for the Debtors’ Emergency Motion for

Interim and Final Orders Authorizing Debtors to Pay or Honor Prepetition Obligations to Certain

Critical Vendor (the “Critical Vendor Motion”) and as further support for the Motion for Entry of

Interim and Final Orders (I) Authorizing the Debtors to Pay Prepetition (A) Contractor Fees,

Salaries, Other Compensation, and Reimbursable Expenses, (B) Continue Prepaid Card Program,

and (II) Granted Related Relief (the “Contractor Motion”). Except as otherwise indicated herein,

all facts set forth in this Declaration are based on my personal knowledge of the Company’s

operations and finances, information learned from my review of relevant documents, information

supplied to me by other employees of the Company and the Company’s advisors, or my opinion

based on my experience concerning the Company’s operations and financial condition. I am

authorized to submit this declaration on behalf of the Debtors, and, if called to testify, I could and

would testify competently to the facts set forth herein.

I.     The Debtors’ Businesses

       4.       The Debtors are a next-generation energy and technology company engaged in the

business of selling energy-conservation products and services to commercial, industrial, and

municipal customers. Zenergy Brands, Inc. (“Zenergy Brands”) is a business-to-business




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company, whose business platform is a combined offering of energy services and smart controls.

Zenergy Brands offers a unique value proposition to commercial, industrial, and municipal

customers whereby it offers a means to reduce their utility expenses anywhere from 20% up to

60% through energy-efficient and smart-control products and service.

       5.       The foundation of the Debtors’ business is its “Zero-Cost Program.” This is a

turnkey solution that enables its target customers to upgrade their older, inefficient equipment and

assets, allowing for installation of energy-efficient retrofits such as HVAC and refrigeration motor

controllers, load-factor improvement technologies, building-envelope-based technologies,

weatherization-based technologies, smart controls, and LED lighting, all at no up-front cost to its

customers.

II.    The Zero-Cost Program and Relationship with the Critical Vendor

       6.       The Zero-Cost Program is facilitated through an industry-standard agreement

referred to as a Managed Energy Services Agreement (“MESA”). Under a MESA, Zenergy is

obligated to develop, arrange financing for, install, and maintain all energy-efficiency measures

and equipment installed by Zenergy Brands. Zenergy Brands will retain ownership of all installed

equipment. The minimum term of the MESA is five years with an expected average of seven years.

Under the terms of the MESA, Zenergy Brands’ customers are obligated to pay Zenergy Brands a

portion of their savings in utility costs following the installation of Zenergy Brand’s equipment;

these are referred to as “Service Payments.” The Debtors rely on certain vendors to provide

equipment, installation, and servicing for their customers.

       7.       I have specifically identified Unify Energy Solutions as a critical vendor (the

“Critical Vendor”) that is essential to maintain their operations and which provide essential

services for a key MESA. Specifically, a school district (the “Client”) is an important customer




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of the Debtors and desires to use a building-automation system known as “Reliable Controls.” I

have identified the Critical Vendor as critical because it is the exclusive distributor and installer of

Reliable Controls and has already begun installing Reliable Controls for the Client (the “Project”)

in relation to an existing MESA and is over halfway through completion of the Project. I

understand and believe that the Debtors owe approximately $457,560 to the Critical Vendor for

work and services already performed on the Project and will owe approximately $481,377 for work

and services to be performed on the Project after the Petition Date.

III.   The Critical Vendor Motion - Failure to Continue Relationship with the Critical

Vendor will Cause Debtors Irreparable Harm

       8.       Without the continued services and equipment of the Critical Vendor, the Debtors

will be unable to complete the Project using the Reliable Controls. Without the Reliable Controls

system, the Debtors would be required to remove the system, purchase a new system, and install a

different building automation system – or “BAS.” Given the cost-benefit analysis, the Debtors do

not believe that removal of the Reliable Controls system makes business sense. The Debtors

believe that it makes more business sense to complete the installation – and pay the required pre-

petition balance – than to remove Reliable Controls – assuming the Client would even authorize

the Debtors to remove it – and install a different “BAS.” Stated simply, it is cheaper to pay the

balance due than to pay for the de-installation costs for the Reliable Control system, the purchase

price of the new system, and the installation costs for the new system.

       9.       The Critical Vendor is not under a contractual obligation to complete the Project.

The Critical Vendor declined the Debtors’ request that it accept payment of the pre-petition

amounts over some period of time. The Critical Vendor further stated that it would not resume

work on the Project until it had been paid in full, including the pre-petition amounts it is owed.




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       10.      The Debtors are concerned that, if the Critical Vendor does not resume work now,

the entire value of the Client’s contract will be lost. The Debtors do not receive the value of that

contract until the installation is complete and the Client’s receives energy savings. When that

happens, the revenue generated from the Project will become the Debtors’ largest piece of

recurring revenue.

       11.      Moreover, the Debtors are concerned about the negative impact or blowback that it

would receive if the Critical Vendor were not paid and the Project were not completed. School

districts are important clients for the Debtors. School districts also represent over 90% of the

Critical Vendor’s work. If the Debtors do not pay the Critical Vendor, then the Debtors are

concerned that their reputational goodwill – especially in the school-district space – will be

irreparably harmed. This harm could be immediate, because the Debtors have two school-district

projects that are expected to start in the next 60 days or earlier.

       12.      Accordingly, I believe that failure to complete the Project through the continued

services and equipment of the Critical Vendor would cause irreparable damage to the Debtors

business.

IV.    SUPPLEMENTAL DECLARATION IN SUPPORT OF CONTRACTOR MOTION

       13.      As stated in my earlier declaration, the Debtors exclusively use independent

contractors to perform revenue-generating and administrative services. These contractors perform

a wide variety of functions critical to the Debtors’ operations and the administration of the Chapter

11 Cases.

       14.      These Contractors are familiar with the Debtors’ businesses and operations. They

are necessary for the uninterrupted services of the Debtors to their customers/clients. This

uninterrupted service is vital to the success of these Chapter 11 Cases. Therefore, the Contractors




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are critically necessary to the Debtors. Unless the Debtors pay the Contractors as outlined in the

Contractor Motion, I expect to the Contractors to discontinue work for the Debtors. Without this

work, the Debtors will likely suffer immediate and irreparable harm and lose any economic

advantage for the estates and its going-concern value around which a potential restructuring will

be discussed and based. This harm is disproportionate to the amount owed and sought to be paid

to the Contractors. I have been unable to find a practical alternative to the proposed payment to

the Contractors. I do not believe that the Contractors will accept a deposit or other assurances from

the Debtors or Court as enticement to continue work. Simply put, I believe that the Contractors

need and want the payments outlined in the Contractor Motion to continue their work with the

Debtors. That work is necessary to expeditiously and cost-effectively restructure the Debtors and

exit bankruptcy.

I.     CONCLUSION

       15.      For the reasons stated herein, in the Critical Vendor Motion filed concurrently

herewith, and the Contractor Motion, I respectfully request that the Critical Vendor Motion and

the Contractor Motion be granted in its entirety, together with such other and further relief as this

Court deems just and proper.



                                          [Signature Page Follows]




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                   I certify under penalty of perjury that, based upon my knowledge, information and belief

        as set forth in this Declaration, the foregoing is true and correct.


        Dated: October 29, 2019                      Respectfully Submitted,

                                                     /s/ Joshua Campbell
                                                     Joshua Campbell
                                                     President and Director
                                                     Zenergy Brands, Inc.
4849-1996-9707.2




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